Case 2:01-cr-20087-RHC Document314 Filed 07/05/05 Page 101‘2~`- Pag€|D 370
uNiTED sTATEs orsTRlCT couRT also svf.l§€!_ md
WESTERN D|STR|CT OF TENNESSEE '
05 JUL *5 PH 53 lll
UN|TED STATES OF AMERICA,

THOW£ M. GOU.D
. . ` U.S. C$STB|CT m
P|amtlff, CLE\;% §§ `il‘-;, ?-~',BM'¥S

Case No. 01-CR-20087-01, 02
vs.

ALBERTO MONC|VA|S AND
RUBEN LAUREL

Defendants.

SCHEDULING ORDER

 

On March 1, 2005 and on March 24, 2005 the United States Court of Appeals
for the Sixth Circuit entered judgment ordering the sentence vacated and the matter
remanded to the district court for resentencing in both cases in accordance with
United States v. Booker, 543 U.S. __125 S.Ct. 738 (2005).

A telephone status conference was held with counsel on June 21, 2005, to
discuss further scheduling issues. The Defendants are to submit their re-sentencing
memorandums by July 25, 2005 and Government’s responses by August 15, 2005.
The Re-sentencing of defendants A|berto Moncivais and Ruben Laure| will be set for

September 26, 2005 at 2:30 p.m.

    

ROBERT H. CLELAND "
UN|TED STATES DISTR|CT JUDGE

Dated: July 1, 2005

S:\C|eiand\TEETS\Criminal\tennwdresent.wpd

Thls document entered on the docket sheet ln compliance /
w|th Flule 55 and/or 32(b) FHCrP on 2" _(£'QS

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 314 in
case 2:01-CR-20087 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madiscn Ave.

Ste. 2000

1\/lemphis7 TN 38103

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

1\/lemphis7 TN 38128

J ames A. Simmons

LAW OFFICE OF JAl\/[ES A. SIMMONS
1208 17th Ave., S.

Nashville, TN 37212--280

Honorable Robert Cleland
US DISTRICT COURT

